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   9   Attorneys for Plaintiff

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  11                        UNITED STATES DISTRICT COURT

  12                     SOUTHERN DISTRICT OF CALIFORNIA
  13

  14
       JOANNE EGROVICH, an individual, ) CASE NO. 3:21-CV-00774-TWR(MDD)
  15                                       )
                       Plaintiff,          ) PLAINTIFF’S NOTICE OF
  16                                       ) MOTION AND MOTION FOR
  17   v.                                  ) PARTIAL SUMMARY JUDGMENT;
                                           ) MEMORANDUM OF POINTS AND
  18                                       ) AUTHORITIES IN SUPPORT
       CCFG COSTEBELLE LA JOLLA,
  19   LLC, a California limited liability ) THEREOF
       company; ALAN LEWIS, an             )
  20                                       ) [DECLARATION OF JOANNE EGROVICH FILED
       individual; CRAIG CECILIO, an
  21   individual; DOES 1 through 25,      ) CONCURRENTLY HEREWITH[
       inclusive,                          )
  22                                       ) Date:     October 13, 2021
  23                   Defendants.         ) Time:    1:30 p.m.
                                           ) Place: Courtroom 3A
  24                                       )
  25                                       )
                                           )
  26                                       )
  27                                       )
                                           )
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                             MOTION FOR PARTIAL SUMMARY JUDGMENT
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   1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on October 13, 2021 at 1:30 p.m. in
   3   Courtroom 3A of the United States District Court in and for the Southern District
   4   of California, Plaintiff Joanne Egrovich (“Plaintiff”) will and hereby does move
   5   pursuant to Federal Rule of Civil Procedure 56 for partial summary judgment as to
   6   the second cause of action against defendants Alan Lewis (“Lewis”) and Craig
   7   Cecilio (“Cecilio”) (together, the “Defendant Guarantors”) on the grounds that
   8   there are no disputed issues of material fact and Plaintiff is entitled to judgment as
   9   a matter of law.
  10         The Motion is based on this Notice of Motion and Motion, the supporting
  11   memorandum of points and authorities, the accompanying declaration of Joanne
  12   Egrovich and the exhibits to the declaration, all pleadings, records and files in this
  13   action, and on such evidence that may be presented at or before the time of
  14   hearing.
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       DATED: July 23, 2021                         LAW OFFICES OF DAVID N. LAKE
  17

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                                                    By:
  19                                                      DAVID N. LAKE
  20                                                      Attorneys for Plaintiff
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   1   I.    INTRODUCTION
   2         Plaintiff Joanne Egrovich (“Plaintiff” or “Ms. Egrovich”) loaned three
   3   quarters of a million dollars ($750,000) to defendant CCFG Costebelle La Jolla
   4   LLC (“CCFG”) in March 2017. That loan was contemporaneously, personally and
   5   unconditionally guaranteed by defendants Alan Lewis (“Lewis”) and Craig Cecilio
   6   (“Cecilio”). An additional $15,000 became due from CCFG when it requested and
   7   obtained an extension of time for the repayment – an extension that turned out to
   8   be pointless as no payment was made even with the additional time.
   9         In short, CCFG defaulted on the loan and Lewis and Cecilio have failed to
  10   fulfill their obligations as CCFG’s unconditional guarantors which has caused
  11   Plaintiff damage. There are no material issues of disputed fact and Plaintiff is
  12   entitled to partial summary judgment on her second claim for relief as against both
  13   Lewis and Cecilio who have unquestionably failed to honor their contractual
  14   obligations to Plaintiff.
  15   II.   UNDISPUTED FACTUAL BACKGROUND AND EVIDENCE
  16         A.     Plaintiff’s Loan and Defendants’ Personal Guaranty.
  17         Ms. Egrovich lent money on a short-term basis to an entity known as CCFG
  18   for use in connection with its ongoing construction project in La Jolla, California.
  19   Declaration of Joanne Egrovich (“JE Decl.”), ¶ 2. The project was a multi-million
  20   dollar custom built, ocean view home situated in one of the most desirable
  21   communities in all of California, if not the United States of America, with an
  22   address of 7930 Costebelle Way, La Jolla, CA 92037 (the “Property”). Id.
  23         Ms. Egrovich, after becoming interested in the project and wanting to look
  24   into it more, engaged in discussions with CCFG’s principal, defendant Alan Lewis
  25   (“Lewis”). JE Decl., ¶ 3. Things progressed and documentation was prepared,
  26   revised, finalized and executed. Id.
  27         Plaintiff’s loan is evidenced by a Promissory Note Secured by Deed of Trust
  28   dated effective March 1, 2017, which was executed by CCFG on April 11, 2017 in

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   1   the amount of $750,000 (the “Note”). JE Decl., ¶ 4, Exhibit A. The original
   2   maturity date for the Note was December 31, 2017. The Note called for Plaintiff
   3   to be repaid her full principal ($750,000) plus the greater of: (i) thirty percent
   4   (30%) interest per annum on the outstanding principal balance or (ii) one hundred
   5   fifty thousand dollars ($150,000) on the maturity date of the Note. Id.
   6          Ms. Egrovich’s loan was guaranteed pursuant to an Unconditional Guaranty
   7   dated effective March 1, 2017 (the “Guaranty”) executed by Defendant Lewis as
   8   well as defendant Craig Cecilio (“Cecilio”) (collectively, the “Defendant
   9   Guarantors”). JE Decl., ¶ 5, Exhibit B.
  10          B.    The Extension of Plaintiff’s Loan Maturity Date.
  11          It became clear as the maturity date on the Note (December 31, 2017)
  12   approached that CCFG would need more time. JE Decl., ¶ 6. Consequently,
  13   CCFG, the Defendant Guarantors and Ms. Egrovich entered into an Amendment to
  14   Loan Documents and Confirmation of Guaranty dated January 25, 2018
  15   (“Extension Agreement”). Id. The Extension Agreement extended the term of the
  16   Note until April 30, 2018, and called for an additional payment of $15,000 to be
  17   made to Plaintiff on the earlier of the repayment of the loan or April 30, 2018. JE
  18   Decl., Exhibit C. No other changes were made to the Note. The Extension
  19   Agreement also expressly confirmed the Guaranty. Id.
  20          CCFG defaulted under Ms. Egrovich’s Note when it failed to repay what
  21   was due to Egrovich by the extended maturity date of April 30, 2018. JE Decl., ¶
  22   7. To date, Plaintiff has not been repaid any of her principal loan ($750,000) or
  23   the extension fee agreed to be paid under the Extension Agreement. Id.
  24   III.   ARGUMENT
  25          A.    Legal Standard for Partial Summary Judgment.
  26          Summary judgment (including partial summary judgment) is appropriate if
  27   the moving party demonstrates that there is no genuine issue of material fact and
  28   that it is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex

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   1   Corp. v. Catrett, 477 U.S. 317, 322 (1986). A fact is material when, under the
   2   governing substantive law, it could affect the outcome of the case. Anderson v.
   3   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Fortune Dynamic, Inc. v.
   4   Victoria’s Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1031 (9th Cir. 2010).
   5   “A genuine issue of material fact exists when the evidence is such that a
   6   reasonable jury could return a verdict for the nonmoving party.” Fortune Dynamic,
   7   618 F.3d at 1031 (internal quotation marks and citations omitted); accord
   8   Anderson, 477 U.S. at 248. “Disputes over irrelevant or unnecessary facts will not
   9   preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec.
  10   Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).
  11         A party seeking summary judgment bears the initial burden of establishing
  12   the absence of a genuine issue of material fact. Celotex at 322-23. Once the
  13   moving party establishes the absence of a genuine issue of material fact, the
  14   burden shifts and the nonmoving party must “set forth, by affidavit or as otherwise
  15   provided in Rule 56, ‘specific facts showing that there is a genuine issue for trial.’
  16   ” T.W. Elec. Serv., 809 F.2d at 630 (quoting former Fed. R. Civ. P. 56(e)); accord
  17   Horphag Research Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007).
  18         To carry this burden, the non-moving party “may not rest upon mere
  19   allegation or denials of his pleadings.” Anderson, 477 U.S. at 256; see also
  20   Behrens v. Pelletier, 516 U.S. 299, 309 (1996) (“On summary judgment, ... the
  21   plaintiff can no longer rest on the pleadings.”). Rather, the nonmoving party “must
  22   present affirmative evidence ... from which a jury might return a verdict in his
  23   favor.” Anderson, 477 U.S. at 256. “Affirmative evidence” in this context means
  24   that “[t]he mere existence of a scintilla of evidence ... will be insufficient; there
  25   must be evidence on which the jury could reasonably find for [the opposing
  26   party].” Liberty Lobby, 477 U.S. at 252.
  27   ///
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   1                1. The Obligation is Unpaid and Defendant Guarantors are
   2                    Liable for it.
   3         A personal guaranty is, legally speaking, like any other contractual
   4   obligation. To prevail on her breach of contract claim, Plaintiff must establish
   5   four (4) things: 1) the existence of a contract; 2) her performance under the
   6   contract; 3) Defendant Guarantors’ breach of the contract; and 4) damage resulting
   7   from the breach. Yi v. Circle K Stores, Inc. (C.D. Cal. 2017) 258 F.Supp.3d 1075,
   8   1082, aff'd (9th Cir. 2019) 747 Fed.Appx. 643.
   9                a) A Valid Contract Exists Between The Parties.
  10         Whether a contract exists depends on the Plaintiff’s ability to demonstrate
  11   that there are (1) parties capable of contracting, (2) their consent, (3) a lawful
  12   object, and (4) consideration. Cal. Civ. Code § 1550. The parties, who are all
  13   adults and experienced business people (including licensed attorneys and real
  14   estate professionals), are capable of contracting and the object of the contract (The
  15   lending of money) is certainly legal so neither of these is an issue.
  16         As for the issue of consent, this is not an issue either. First, the Defendant
  17   Guarantors’ answer to the complaint does not raise lack of consent as a defense.
  18   (Dkt. 9). Second, there is no question the Defendant Guarantors’ ratified the
  19   agreement such that any voidable aspects of the contract have been accepted as a
  20   result of the ratification – ratification which takes on several forms, including the
  21   receipt, acceptance and retention of the $750,000 as well as entering the Extension
  22   Agreement and acceptance of the additional time to repay the loan thereunder.
  23   Cal. Civil Code § 1588. JE Decl., ¶¶ 6 & 8, Exhibits C & D. The Extension
  24   Agreement even contains specific language whereby the Defendant Guarantors
  25   reaffirmed the guaranty: “Guarantors (a) consent to the terms and conditions of
  26   this Agreement and (b) agree that the Guaranty continues to guaranty all
  27   obligations owed by Borrower under the Loan Documents as they have been
  28   modified by this Agreement.” JE Decl., Exhibit C, ¶ 5 (emphasis added).

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   1         Cal. Civ. Code § 1605 defines consideration as: “Any benefit conferred, or
   2   agreed to be conferred, upon the promisor, by any other person, to which the
   3   promisor is not lawfully entitled, or any prejudice suffered, or agreed to be
   4   suffered, by such person, other than such as he is at the time of consent lawfully
   5   bound to suffer, as an inducement to the promisor, is a good consideration for a
   6   promise.” Under California law a written guarantee carries the presumption of
   7   consideration, and the person opposing the guaranty bears the burden of showing a
   8   want of consideration. See Cal. Civ. Code §§ 1614, 1615; Challenge-Cook Bros.,
   9   Inc. v. Lantz, 256 Cal.App.2d 536, 539 & nn.1–2 (1967). Should more be
  10   required, California courts look to the language of the guaranty itself to determine
  11   whether consideration has been given. Beverly Hills Nat’l Bank v. Glynn, 267
  12   Cal.App.2d 859, 867 (1968). Here, both the language of the document and the
  13   acts of the parties establish the exchange of good and valuable consideration.
  14         In terms of benefits conferred, there is of course the $750,000 which was
  15   received, the agreement to repay that sum should CCFG not be willing or able to
  16   do so, and then an extension of time to repay that sum beyond the agreed-upon
  17   Maturity Date. Neither Plaintiff nor the Defendant Guarantors were legally bound
  18   to loan or repay the money prior to their contract and these changes in legal
  19   position also constitute consideration. The written mutual promises – to lend and
  20   to repay – form all the consideration that is or could be needed. Cal. Civ. Code §§
  21   1605, 1606 & 1614.
  22                b) Plaintiff Fully Performed Under the Contract and the
  23                    Defendant Guarantors Have Breached It.
  24         Plaintiff’s loan is evidenced by the Note. JE Decl., Exhibit A. The original
  25   maturity date for the Note was December 31, 2017. The Note called for Plaintiff
  26   to be repaid her full principal ($750,000) plus the greater of: (i) thirty percent
  27   (30%) interest per annum on the outstanding principal balance or (ii) one hundred
  28   fifty thousand dollars ($150,000) on the maturity date of the Note. Id. The

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   1   maturity date on the Note was December 31, 2017. Id. CCFG received the full
   2   $750,000 from Plaintiff. JE Decl., ¶ 8, Exhibit D.
   3         As the original maturity date approached, it was clear that CCFG would
   4   need more time to pay back the loan. Consequently, CCFG, the Defendant
   5   Guarantors and Ms. Egrovich entered into the Extension Agreement which
   6   extended the term of the Note until April 30, 2018 and called for an additional
   7   payment of $15,000 to be made to Plaintiff on the earlier of the repayment of the
   8   loan or April 30, 2018. JE Decl., Exhibit C. No other changes were made to the
   9   Note. Id.
  10         CCFG defaulted under the Note when it failed to repay what was due to
  11   Egrovich by the extended maturity date of April 30, 2018. JE Decl., ¶ 7. The
  12   Defendant Guarantors have not made the payment they were contractually
  13   obligated to make either and Plaintiff has not been repaid any of her principal loan
  14   ($750,000) or the extension fee. Id.
  15                c) Plaintiff Has Suffered Damage Resulting from Defendant
  16                   Guarantors’ Breach of Contract.
  17         “Under general contract principles, when one party breaches a contract the
  18   other party ordinarily is entitled to damages sufficient to make that party whole,
  19   that is, enough to place the non-breaching party in the same position as if the
  20   breach had not occurred.” Postal Instant Press, Inc. v. Sealy, 43 Cal.App.4th 1704,
  21   1708–09 (1996). The ascertainment of damages that Plaintiff suffered and the
  22   amount of that damage which would make Plaintiff whole are not difficult in this
  23   case. Simply put, she wants and is legally entitled to her money back.
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   1         Plaintiff seeks only to recover the principal amount of the unpaid loan
   2   obligation plus the extension fee for a total of $765,000. JE Decl., ¶ 9.1 CCFG did
   3   not pay and has not paid any part of the sums owed to Plaintiff. JE Decl., ¶ 9. The
   4   Defendant Guarantors did not pay and have not paid any party of the sums owed to
   5   Plaintiff either, and Plaintiff has not received a payment from any other source
   6   towards the principal or the extension fee. JE Decl., ¶ 9.2 Plaintiff did receive a
   7   settlement payment in connection with her suit against her former counsel, but the
   8   sum she received was to compensate her for lost interest only and no amount of
   9   the principal sum loaned to CCFG and guaranteed to be repaid by the Defendant
  10   Guarantors was recovered. Id., Exhibit E.
  11   IV.   CONCLUSION
  12         Based on the foregoing, as well as the supporting declarations and evidence,
  13   Plaintiff respectfully requests the Court grant her motion for partial summary
  14   judgment.
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       DATED: July 23, 2021                        LAW OFFICES OF DAVID N. LAKE
  17

  18
                                                   By:
  19                                                     DAVID N. LAKE
  20                                                     Attorneys for Plaintiff
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         Plaintiff is not seeking to recover the interest the Guarantor Defendants agreed to
  25
       pay her in connection with the loan. She is only seeking recovery of the principal
       sum, plus the extension fee. JE Decl., ¶ 9.
  26   2
         It is anticipated that defendants will raise the issue of usury in connection with
  27   the Note and Guaranty, but any such argument is of no moment because Plaintiff
       is not seeking to recover any interest pursuant to the Note or Guaranty in this
  28   action.

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